                                                                                                   ________________________
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                                    UNiTED      STATEs         DISTRICT          COURT


                     for the                     District of                          New Jersey

            United States of America
                                                                         ORDER SETTING CONDITIONS
                           v.                                                   OF RELEASE
           CRYSTAL G. HAWKINS
                                                                               Case Number: 13-2558(DEA)
                     Defendant
 IT IS ORDERED on this 2   d day of
                           1                              that the release of the defendant is subject to the following
 conditions:
        (1) The defendant must not violate any federal, state or local law while on release,
        (2) The defendant must cooperate in the collection of a DNA sample if the collection is authorized by
             42 U.S.C. § 14135a.
        (3) The defendant must immediately advise the court, defense counsel, and the U.S. attorney in writing before
             any change in address and or telephone number.
        (4) The defendant must appear in court as required and must surrender to serve any sentence imposed.

                                                        Release on Bond

                     I          I
Bail he fixed at S                            and the defndant shall he released uoh
                                                                                                         QlE fh
      (, Executing an unsecured appearance bond            with co-signor(s)
      ( ) Executing a secured appearance bond        ) vith  co-signor(s)
           and ( ) depositing in cash in the registry of the Court           of the bail fixed: and/or ( ) execute an
           agreement to forfeit designated property located at
           Local Criminal Rule 46. l(d)(3) waived/not waived by the Court.
      ( ‘) Executing an appearance bond with approved sureties, or the deposit of cash in the full amount of the bail
           in lieu thereof:

                                              Additional Conditions of Release
Upon finding that release by the above methods will not by themselves reasonably assure the appearance of the
defendant and the safety of other persons and the community. it is further ordered that the release of the defendant
                                                                                                                     is
subject to the condition(s) listed belo:

IT IS FURTHER ORDERED that, in addition to the abo’ 4 e. the following conditions are imposed:
      ()  Report to Pretrial Services (“PTS”) as directed and advise them immediately of any contact with law
          enforcement personnel, including but not limited to. any arrest, questioning or traffic stop.
     (X)  l’he deIndant shall not attempt to influence, intimidate, or injure any juror or judicial ofticer not tamper
           with any witness, ictirn, or informant: not retaliate against any \itness, victim or informant in this case.
     ( The defendant shall be released into the third party custody of                                   1€               ç
            who agrees a,1 to supervise the defendant in accordance with all the conditions of release, Ibi to use every efjbrt
            to asiire the appearance ot the defendant at all scheduled court proceedings.
                                                                                          and (ci to iioii/i the court
            immediate/v in the even! the defrndcmni violates any onduions of re/ca5e or disappear.


             Custodian                                                           Date:
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(.s)   The de1ndants travel is restricted to (ANew Jerse ()() Otherj?JjL±Lj
                                                               ( ‘S unless appro ed b Pretrial Serx ices
       (PIS).
( Surrender all passports and travel documents to PTS. I)o not apply for ne travel documents.
( Substance abuse testing and or treatment as directed by PTS. Refrain from obstructing or tampering xith
    substance abuse testing procedures equipment.
(   Refrain from possessing a firearm. destructive de ice, or other dangerous weapons. All firearms in any
    home in which the defendant resides shall he removed h\                   and erification provided to P US.
    Mental health testing treatment as directed by PTS.
( ) Abstain from the use of alcohol.
    Maintain current residence or a residence appro ed b P F S.
( j Maintain or actively seek employment and. or commence an education program.
( ) No contact with minors unless in the presence of a parent or guardian who is aware of the present offense.
  ) Have no contact \\ith the following individuals:
  j Defindant is to participate in one of the following home confinement program components and abide by
       all the requirements of the program which ( ) will or ( ) will not include electronic monitoring or other
       location verification system. You shall pay all or part of the cost of the program based upon your ability to
      pay as determined by the pretrial services office or supervising officer.
        ( ) (i) Curfew. You are restricted to your residence every day ( ) from                   to—         or
                                                                                                             -,




                    ( )   as directed b  the pretrial services office or super ising officer: or
       ( ) (ii) Home Detention, You are restricted to your residence at all times except for the folloing:
                    education: religious services: medical, substance abuse. or mental health treatment:
                    attorney visits: court appearances: court-ordered obligations: or other activities pre
                    approved by the pretrial services office or supervising officer. Additionally, employment
                    ( ) is permitted ( ) is not permitted.
       ( )   (iii)  Home Incarceration. You are restricted to your residence under 24 hour lock-down except
                    for medical necessities and court appearances. or other activities specifically approved by
                   the court.
(   )  Defendant     is subject to the following computer/internet restrictions which may include manual
       inspection and/or the installation of computer monitoring software, as deemed appropriate by
      Pretrial Services. The defendant shall pa all or part of the cost of the monitoring software based
      upon their ability to pay. as determined by the pretrial services office or supervising officer.
      ( ) (i) No Computers defendant is prohibited from possession and/or use of computers or
                                    -




                   connected devices.
      ( ) (ii) Computer No Internet Access: defendant is permitted use of computers or connected
                              -




                   devices, but is not permitted access to the Internet (World Wide Web. FTP Sites, 1RC
                   Servers. Instant Messaging. etc);
      ( )   (iii)  Computer      With Internet Access: defendant is permitted use of computers or connected
                   devices, and is permitted access to the Internet (World Wide Web, FTP Sites, IRC Sen ers,
                   Instant Messaging. etc.) for legitimate and necessary purposes pre-approved by Pretrial
                  Services at [ j home [ j for employment purposes.
       (   ) (iv) Consent of Other Residents -by consent of other residents in the home, any computers in
                  the home utilized by other residents shall be approved by Pretrial Services, password
                  protected by a third party custodian appro ed by Pretrial Services, and subject to inspection
                  for compliance by Pretrial Services.
                       I
       Other:                L fl   fL)           t              6U fr
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       Other:

    ) Other:
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                                        ADVICE OF PENALTIES AND SANCTIONS

10 TIlE DEFENDANT:
Y01 ARE ADViSED OF THE FOLLOWING PENALTIES AND SANCTIONS:
                       Violating any of the foregoing conditions of release max result in the immediate issuance of a vvarrar
     xour arrest. a revocation ofxour release, an order of detention, a firfeiture olan\ bond. and a prosecution for comem
 of court and could result in imprisonment, a fine, or both,
            While on release, ifxou commit a federal felon) offense the punishment is an additional prison term of not mor
than ten years and for a federal misdemeanor offense the punishment is an additional prison term of not more than one veai
This sentence will he consecutive (ie, in addition to) to any other sentence you receive.
            It is a crime punishable by up to ten ears in prison, and a S250,000 fine, or both, to: obstruct a crimina
investigation: tamper with a witness. victim, or informam: retaliate or attempt to retaliate against a itness. victim. o
                                                                                                          ‘

informant: or intimidate or attempt to intimidate a witness, victim, juror. informant, or officer of the court. The penaltie
for tampering, retaliation, or intimidation are significantly more serious if thex involve a killing or attempted killing.
            If. after release. you knovvinglx fail to appear as the conditions of release require. or to surrender to serve
sentence. you max be prosecuted for failing to appear or surrender and additional punishment may be imposed. If ou arc
                                                                                                                      y
convicted of:
                (1 an offense punishable by death, life imprisonment, or imprisonment fbr a term of fifteen years or mon
                    —  you will be fined not more than S250.000 or imprisoned for not more than 10 xears, or both:
                (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years yoi.
                                                                                                                          -




                     will be fined not more than $250000 or imprisoned for not more than five years, or both:
                (3) any other felony you will be fined not more than 525 0.000 or imprisoned not more than two years. 01
                     both;
                (4) a misdemeanor you will be fined not more than $100,000 or imprisoned not more than one year. oi
                                    —




                     both.
                A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentenc
you receive, in addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                            Acknowledgment of the Defendant

              I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise
to obey all conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the
penalties and sanctions set forth above.

                                                                   I
                                                                  I I DefrMtnt s Signature
                                                                              C in and State
                                                        k----




                                          Directions to the United States Marshal
         The defendant is ORDERED released after processing.
          The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge
         that the defendant has posted bond and or complied with all other conditions for release. If still in custody. the
         defendant must be produced before the appropriate judge at the time and place specified.

 Date:
            ii )2       /

                                                                        Judicial (tlr s Signature


                                                                         Printed name and title
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